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H. JACK DowNEY, ELIZABETH ' ' ` " "'“""PH;S
M. DOWNEY, PAUL F. ALEXANDER,

and BRYAN L. SANDERS,
Plaintiffs,
v.

No. 04-3009 Ml/P

DUNCAN WILLIAMS, INC.,

vvvvvvvvv'q_¢v

Defendant.

 

ORDER FOLLOWING STATUS CONFERENCE

 

The Court held a status conference in this case on April 25,
2005. Plaintiffs were represented by Harold Naill Falls, Jr.,
Esg. Defendant was represented by Allan Wade, Esg., and Lori
Patterson, Esg. Pursuant to the discussion at the conference and
under the authority of 15 U.S.C. § 78u-4, discovery in this case
is hereby STAYED until the Court issues a ruling regarding
Defendant’s pending motion to dismiss.

The parties agree and stipulate that any discovery materials
from related litigation currently proceeding in any Tennessee
state court may not be used in this proceeding to oppose

Defendant’s pending motion to dismiss.

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Case 2:04-cv-O3009-.]PI\/|-tmp Document 39 Filed 04/27/05 Page 2 of 3 Page|D 35

so oRDERsD this ‘Z(Oth day Of April, 2005.

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JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

 

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Honorable Jon McCalla
US DISTRICT COURT

